Case 2:05-Cr-20022-BBD Document 24 Filed 07/14/05 Page 1 of 2_ Page|D 37

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IN TI-IE uNITED sTATEs DIsTRIcT coURT
FoR THE: wEsTERN DISTRICT oF TENNESSEE .

 

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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 05-20022-Ma

MARK ANTHONY CROWDER,

~._r\._/\_/\_/\_/~_,,~.._J`_,~.._,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this l§ day of July, 2005.

.J/M/‘%__

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

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UNITED sATE DISTRICT COUR - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20022 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

